       Case 1:22-cv-00208-JPW Document 49-8 Filed 02/27/22 Page 1 of 2




                   IN THE SUPREME COURT OF PENNSYLVANIA
                               MIDDLE DISTRICT


 CAROL ANN CARTER, MONICA                        : No. 7 MM 2022
 PARRILLA, REBECCA POYOUROW,                     :
 WILLIAM TUNG, ROSEANNE MILAZZO,                 :
 BURT SIEGEL, SUSAN CASSANELLI, LEE              :
 CASSANELLI, LYNN WACHMAN, MICHAEL               :
 GUTTMAN, MAYA FONKEU, BRADY HILL,               :
 MARY ELLEN BALCHUNIS, TOM DEWALL,               :
 STEPHANIE MCNULTY AND JANET                     :
 TEMIN,                                          :
                                                 :
                     Petitioners                 :
                                                 :
                                                 :




                                                            M
              v.                                 :




                                                          O
                                                         C
                                                 :


                                                       T.
                                                     KE
                                                 :
                                                    C
                                                   O
 LEIGH M. CHAPMAN, IN HER OFFICIAL               :
                                                 YD

 CAPACITY AS THE ACTING SECRETARY                :
                                               AC



 OF THE COMMONWEALTH OF                          :
                                              R
                                            C




 PENNSYLVANIA; JESSICA MATHIS, IN                :
                                            O
                                         EM




 HER OFFICIAL CAPACITY AS DIRECTOR               :
                                        D




 FOR THE PENNSYLVANIA BUREAU OF                  :
                                      M
                                    O




 ELECTION SERVICES AND NOTARIES,                 :
                                   FR




                                                 :
                                D
                              VE




                     Respondents                 :
                             IE
                            R
                          ET
                        R




                                        ORDER

PER CURIAM
      AND NOW, this 2nd day of February, 2022, given the impasse between the

legislative and executive branches concerning the adoption of congressional districts, and

in view of the impact that protracted appeals will have on the election calendar, and time

being of the essence, Petitioners’ Emergency Application for Extraordinary Relief is

GRANTED, and Extraordinary Jurisdiction under 42 Pa.C.S. § 726 is EXERCISED.
         Case 1:22-cv-00208-JPW Document 49-8 Filed 02/27/22 Page 2 of 2




         Consistent with the process established in Mellow v. Mitchell, 607 A.2d 204

(Pa. 1992), it is hereby ORDERED:

         1.   The consolidated actions docketed in the Commonwealth Court at

Nos. 464 M.D. 2021 and 465 M.D. 2021 shall remain consolidated for all purposes in this

Court.

         2. The Honorable Patricia A. McCullough, a jurist on the Commonwealth Court of

Pennsylvania who currently is presiding over the consolidated actions below, is

designated to serve as a Special Master.

         3. The proceedings occurring in the Commonwealth Court prior to the issuance of




                                                               M
this Order, and the filings submitted to that court at its direction in furtherance of those




                                                               O
                                                              C
                                                              T.
proceedings, shall be considered part of the Special Master’s record.
                                                            KE
                                                           C
                                                          O
                                                        YD

         4. The Special Master shall file with this Court on or before February 7, 2022, a
                                                      AC
                                                     R




report containing proposed findings of fact and conclusions of law supporting her
                                                    C
                                                    O
                                                EM




recommendation of a redistricting plan from those submitted to the Special Master, along
                                                D
                                             M
                                            O




with a proposed revision to the 2022 election schedule/calendar.
                                           FR
                                       D
                                     VE




         5. On or before February 14, 2022, any Party or Amicus Participant previously
                                     IE
                                 R
                               ET




designated by the court below may file with this Court exceptions to the Special Master’s
                             R




report along with a brief in support thereof. This Court will hold oral argument on these

exceptions in Harrisburg, Pennsylvania on February 18, 2022, beginning at 9:30 a.m.

         The stay issued by this Court on January 31, 2022, is hereby LIFTED. The

Gressman Petitioners’ Request for Clarification is DISMISSED AS MOOT.

         Chief Justice Baer and Justice Dougherty file concurring statements.

         Justice Mundy files a dissenting statement in which Justice Brobson joins.

     A True Copy Amy Dreibelbis, Esquire
     As Of 02/02/2022


     Attest: ___________________
     Deputy Prothonotary
     Supreme Court of Pennsylvania

                                            [7 MM 2022] - 2
